Case 1:23-cv-00745-DIl Document 9-1 Filed 08/31/23 Page 1 of 4

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Page totals: Credits: [5] $1,518.35
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